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April 10, 2024

Hon. P. Kevin Castel
U.S. District Court, Southern District of New York
500 Pearl St.
New York, NY 10007

        Re:      Sphere 3D Corp. v. Gryphon Digital Mining, Inc., 1:24-cv-02074-PKC

Dear Judge Castel:

         We represent Defendant Gryphon Digital Mining, Inc. (“Gryphon”) in the above-captioned
matter. There are no conferences presently scheduled before the Court in this action.1 Pursuant to
Your Honor’s Individual Practices, Gryphon writes to seek leave to move to dismiss Sphere 3d Corp.’s
(“Sphere”) complaint (the “Complaint”) in its entirety pursuant to Fed. R. Civ. P. 12(b)(6), which was
filed on March 19, 2024. ECF No. 1.

        Sphere’s Complaint arises out of a dispute between the parties under a Master Services
Agreement (the “MSA”). In the Main Action, which is currently in discovery, the parties have filed
claims against one another for breach of the MSA.

        The new Complaint is a wholly unnecessary, and legally defective, effort by Sphere to multiply
the proceedings and cause additional cost and burden to Gryphon. The Complaint asserts that
Gryphon failed to distribute the contents of a digital wallet (the “Digital Wallet”), held by Gryphon on
Sphere’s behalf under the MSA. But, as Sphere readily admits in the Complaint, Gryphon had agreed
before the Complaint was filed to make the refund. However, the refund was delayed by Sphere’s
own failure to provide information required to calculate the refund. In any event, the refund has now
been completed and while there are minor differences between the parties on the calculation, the
amount is de minimis.

         Further, besides being largely moot, Sphere’s claims are legally defective and must be
dismissed. The MSA, which indisputably governs the obligations of the parties, does not contain any
requirements relating to the timing of any refund of assets held in the Digital Wallet. Sphere recognizes
this, as the Complaint does not cite a single provision of the MSA that has been breached and does
not assert any claim for breach of the MSA. Instead, in order to manufacture a claim where none
exists, Sphere asserts legally defective claims for conversion (Count I) and promissory estoppel
(Count II). Both must be dismissed.




1 There is a case management conference scheduled for September 30, 2024 in another action before
this Court in Sphere 3D Corp. v. Gryphon Digital Mining, Inc., Case No. 23-cv-02954-PKC, which the
Court accepted as related on April 8, 2024 (the “Main Action”). ECF No. 9.

                                                     1
    I.        Count I of Sphere’s Complaint Fails to State a Claim for Conversion Under New York
              Law

         A. Sphere Fails to Satisfy the Necessary Elements of a Conversion Claim

     Sphere’s claim for conversion fails as a matter of law. To state a claim for conversion, a plaintiff
must show that the defendant (1) acted without authorization; (2) exercised dominion or a right of
ownership over property belonging to another; (3) the rightful owner makes a demand for the property;
and (4) the demand for the return is refused. Cruz v. TD Bank, N.A., 855 F. Supp. 2d 157, 174
(S.D.N.Y. 2012) (Castel, D.J.).

      Sphere’s claim for conversion fails to meet the first, second, and fourth elements of a conversion
claim. With respect to the first element, Sphere fails to adequately allege that Gryphon was acting
without authorization by managing the assets held in the Digital Wallet at any point during the
purportedly relevant time period. Nor could it given that the parties expressly agreed that Gryphon
would control the Digital Wallet. Ex. 3 at 2.2 With respect to the second element, Sphere fails to
plausibly allege that Gryphon exercised unauthorized dominion or control of those assets. To the
contrary, Sphere admits in the Complaint that Gryphon agreed in writing through counsel that
the property would be returned upon completion of the necessary calculations. Thus, Sphere’s
own allegations concede that Gryphon did not exercise unauthorized dominion or control of the assets
held in the Digital Wallet.

       Likewise, Sphere fails to adequately allege that Gryphon ever refused any demand to return the
assets held in the Digital Wallet. “When a defendant's possession of the property was initially lawful,
there is no conversion unless the defendant refuses the owner's demand to return the property or
wrongfully transfers or disposes of it before a demand is made.” Regions Bank v. Wieder &
Mastroianni, P.C., 526 F. Supp. 2d 411, 414 (S.D.N.Y. 2007), aff'd, 268 F. App'x 17 (2d Cir. 2008). It
is undisputed that Gryphon validly maintained possession of the assets stored in the Digital Wallet
under the terms of the MSA. See, e.g., Ex. 3 at 2 (providing that Gryphon “shall at all times control the
digital wallet”). Sphere appends a trove of innocuous emails to its Complaint with Gryphon’s counsel,
but not a single communication shows Gryphon ever refusing to return any of the assets held in the
Digital Wallet. This defect is fatal to Sphere’s claim for conversion.

         B. Sphere’s Defective Conversion Claim is Actually a Breach of Contract Claim
            Masquerading as a Conversion Claim

       Second, Sphere’s claim for conversion should also be dismissed because it is actually a breach
of contract claim improperly disguised as a conversion claim. Under New York law, conversion claims
fail as a matter of law where they are duplicative of, or merely state, a violation of contractual rights.
See, e.g., Zohar CDO 2003-1, Ltd. v. Patriarch Partners, LLC, No. 17-CV-307(PKC), 2021 WL
4460547, at *15 (S.D.N.Y. Sept. 29, 2021) (“New York law is clear that a cause of action for conversion
cannot be predicated on a mere breach of contract”) (internal quotation marks omitted). Sphere’s
claim for conversion arises out of the same subject matter covered by the contract that the parties
freely and voluntarily entered – Gryphon’s role as the exclusive manager of the Digital Wallet.
Accordingly, Sphere’s conversion claim is, in reality, a contractual claim, thereby mandating dismissal
under New York law.




2 References to exhibits are references to the exhibits attached to Sphere’s Complaint.



                                                    2
    II.        Count II of Sphere’s Complaint Fails to State a Claim for Promissory Estoppel Under
               New York Law

           A. Sphere Cannot Maintain a Claim for Promissory Estoppel because the MSA is a Valid
              and Enforceable Contract that Covers the Same Subject Matter Forming the Basis
              for this Claim

      Further, the MSA, which is a valid and enforceable contract, covers the subject matter forming
the basis for Sphere’s promissory estoppel claim. Under New York law, a plaintiff cannot maintain a
promissory estoppel claim where a valid and enforceable contract governs the same subject matter.
Venture Grp. Enters., Inc. v. Vonage Bus. Inc., No. 20CV4095RAOTW, 2023 WL 6540703, at *10
(S.D.N.Y. Oct. 6, 2023) (stating that a claim for promissory estoppel can only survive “in the absence
of a valid and enforceable contract governing the same subject matter”). Here, it is undisputed that
the MSA is a valid and enforceable contract between the parties. See, e.g., Compl. ¶¶ 15-17. Further,
the MSA expressly covers the subject matter that is now the basis for Sphere’s promissory estoppel
claim – i.e., Gryphon’s role as the exclusive manager of the Digital Wallet.

           B. Sphere has Failed to Establish the Essential Elements of a Promissory Estoppel
              Claim under New York Law

      Sphere has also not plausibly pled the essential elements of a promissory estoppel claim under
New York law. Sphere does not plausibly allege reasonable or foreseeable reliance – indeed, the
Complaint failed to allege that Sphere changed its position to its detriment in any way. Schroeder v.
Pinterest Inc., 133 A.D.3d 12, 32, 17 N.Y.S.3d 678, 694 (1st Dep’t 2015) (“Detrimental reliance is an
indispensable element of a promissory estoppel claim, and a failure to adequately plead that element
requires dismissal”) (internal citations omitted). Further, Sphere has not plausibly pled any injury it
sustained to support its promissory estoppel claim. As discussed above, any payment due to Sphere
has already been made. Thus, Sphere’s receipt of the assets held in the Digital Wallet precludes any
additional recovery under both the express terms of the MSA and applicable New York law.

    III.       Conclusion

        Accordingly, Gryphon respectfully requests leave to file a motion to dismiss Sphere’s
Complaint in its entirety pursuant to Fed. R. Civ. P. 12(b)(6). If the Court grants Gryphon’s request for
leave to file the motion, Gryphon proposes the following briefing schedule for the motion:

                 Motion                 Party                     Deadline
                 Motion                 Gryphon                   April 26, 2024
                 Response               Sphere                    May 10, 2024
                 Reply                  Gryphon                   May 20, 2024




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Respectfully submitted,

/s/ Dennis H. Tracey, III
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Enclosure

cc: All Counsel of Record (via ECF)




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